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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                     Case No. 08-MD-01916-Marra

    IN RE: CHIQUITA BRANDS INTERNATIONAL, INC.
    ALIEN TORT STATUTE AND SHAREHOLDER
    DERIVATIVE LITIGATION
                                                                  /

    This Document Relates to:

    ATS ACTIONS

    07-60821-CIV-MARRA (Carrizosa)
    08-80421-CIV-MARRA (N.J. Action) (Does 1-11)
    08-80465-CIV-MARRA (D.C. Action) (Does 1-144)
    08-80508-CIV-MARRA (Valencia)
    08-80480-CIV-MARRA (Manjarres)
    10-60573-CIV-MARRA (Montes)
    17-81285-CIV-MARRA (D.C. Action) (Does v. Hills)
    18-80248-CIV-MARRA (John Doe 1)
    ________________________________________________/

                  NON-WOLF PLAINTIFFS’ EXPEDITED MOTION TO SEVER
                WOLF PLAINTIFFS’ CLAIMS FROM THE BELLWETHER 1B TRIAL

               Non-Wolf Plaintiffs, pursuant to Federal Rules of Civil Procedure 1, 21, and 42(b) and the

    Court’s discretion to manage these MDL proceedings, hereby move to sever their claims from the

    Wolf-Plaintiffs’ claims for the Bellwether 1B trial(s). 1 As will be demonstrated, forcing non-Wolf

    Plaintiffs and their clients to try a case with Mr. Wolf is a mistrial waiting to happen.

         I.       TODAY’S ATTACK AND PREVIOUS ATTACKS

              Most recently, Mr. Wolf egregiously violated this Court’s order, DE 3019 by




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       Non-Wolf Plaintiffs request expedited treatment under Local 7.1(d)(2) because the Bellwether
    1B trial is scheduled to begin on July 15, 2024 and further request a ruling on the Motion by July
    1, 2024. A ruling by that date, which is two weeks prior to the start of trial, is necessary to allow
    the parties to adequately prepare for the scope of the upcoming trial.
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    publishing the verdict on the Internet. 2

          DE 3019 at 7, ¶4 provides:

           Plaintiffs’ request for alternative relief [DE 3000] is GRANTED to the following
           extent: (a) Defendants are prohibited from publishing or using Plaintiffs’ true
           names or other identifying information outside of any court proceedings (filings in
           the judicial record or in context of court hearings) and (b) All parties are
           prohibited from disclosing any Plaintiffs or Individual Defendants’ private
           email addresses, financial information, medical information or psychological
           information other than as necessary for litigation purposes (filings in the
           judicial record or in context of court hearings) and only after seeking and
           obtaining advance leave of Court.

    (Emphasis added.) While the first half of this provision expressly applies only to Defendants, the

    clear intention was to prohibit everyone from publishing the Plaintiffs' true names and financial

    information except as necessary in docket filings. Mr. Wolf’s publication of the amounts of money

    in the verdict, in connection with the Plaintiffs' true names, constitutes "financial information" that

    should not be publicized outside the court docket without advance leave of the Court.

          When the non-Wolf Plaintiffs demanded that Mr. Wolf take down his postings, he responded

    with yet another baseless attack on the non-Wolf Plaintiffs:

           On Jun 14, 2024, at 2:04 PM, paulwolf@yahoo.com wrote:

           Jack [Scarola] - you are referring to my posting of DE 3811, which is a public filing
           from the docket of the case. The Court ordered that the plaintiffs can't proceed
           under pseudonyms, because there was no showing of danger in proceeding under
           their real names. So I don't understand the legal basis of your demand. One reason
           to publish the names is the widespread fraud committed by your group.
           Sincerely,
           Paul Wolf


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     See https://www.scribd.com/document/741445145/Chiquita-Verdict-R-3811?fbclid=IwZXh 0bg
    NhZW0CMTAAAR17YUpbqTecucZ5uFxE5ej86ZKOSUJ1TqLy2SYxIDPDnWlm9ivUW 36SS
    QaemZmFrZWR1bW15MTZieXRlcw;
    https://www.facebook.com/asesoriaspaul/posts/pfbid02dMg4rDZ8yi1MCuKD17Pz8X58AM1k
    hKA1sdZmVUsMYr5L9ERG569ZQS6YZckXiBQRl. See also, Exhibit 1 (screenshot of the first
    page of scribd posting), Exhibit 2 (screenshot of the part of the verdict form with names and dollar
    amounts redacted by the undersigned), and Exhibit 3 (printout of the first page of FaceBook
    position)
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    (emphasis added).

           The Court has been witness to the multiple other accusations of serious misconduct and the

    repeated expression of animosity directed by Mr. Wolf against Conrad & Scherer, Mr.

    Collingsworth, Mr. Scarola, Mr. Green, Boies Schiller & Flexner, and other non-Wolf Plaintiffs’

    counsel. Mr. Wolf has repeatedly refused to coordinate with other Plaintiffs’ counsel, has refused

    to maintain confidentiality in the past and has persistently declined to commit to respecting both

    the work product and attorney-client privileges going forward. This conduct has prevented even

    voluntary coordination with other Plaintiffs’ counsel. He has accused other Plaintiffs’ counsel of

    all manner of improprieties. He has sued Boies Schiller, who remain counsel for the Montes

    Plaintiffs in this action, and has filed a bar complaint against attorney Terry Collingsworth.

           The Court observed the harmonious and efficient way in which five Plaintiffs’ groups

    worked in the recently completed Bellwether 1A trial. That will not be possible with Mr. Wolf. As

    Mr. Wolf has written in this case:

           [I]t will not be possible to develop a working relationship with Conrad & Scherer
           after the negative history we have had so far. It will not be in the plaintiffs'
           interest to force us to work together.

    Response of Paul Wolf to Court's Order of August 28, 2008. DE 135 at 7. (emphasis added).

          Indeed, given Mr. Wolf’s past conduct, it is more likely than not that a trial that includes Mr.

    Wolf will result in a mistrial, squandering the parties’ and the Court’s resources.

          II.      ADDITIONAL BACKGROUND

          The Court has witnessed the accusations and acrimony displayed by Mr. Wolf against other

    Plaintiffs’ counsel, and his refusal to coordinate with them in a productive manner, for over 15

    years. Plaintiffs therefore include only a few examples of this history.

          Mr. Wolf initially did coordinate with other Plaintiffs’ counsel, but his rift with Mr.

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    Collingsworth and Conrad & Scherer – as well as his questionable litigation choices – was evident

    early on. The Court’s initial case management order, DE 67, was issued on June 2, 2008; it was

    generally a procedural order, including a requirement to submit a “designation of lead counsel for

    each party.” Id. at 3. This simple request led to a motion to compel compliance by Chiquita, as Mr.

    Wolf could not agree with his then-co-counsel, Mr. Collingsworth, on who was to be designated

    – and this dispute apparently arose out of Mr. Collingsworth’s decision to join Conrad & Scherer.

    See DE 76 at 2. Mr. Wolf, who was at that point three years out of law school, insisted on being

    named lead counsel for over a hundred plaintiffs. Id.

          The Court ordered the D.C. case to name a single lead counsel, DE 102, and when Mr. Wolf

    and Mr. Collingsworth still couldn’t agree, ordered them to submit their “qualifications to act as

    lead counsel,” among other things. DE 130 at 2. In response, Mr. Wolf filed a document stating,

    among other things:

           •       That the interests of his and Mr. Collingsworth’s clients would not be
                   “served by having both of us trying to work on their cases”

           •       The he “believe[d] it will not be possible to develop a working relationship
                   with Conrad & Scherer after the negative history we have had so far”

           •       That “[i]t will not be in the plaintiffs' interest to force us to work together”

           •       That in his “weakest cases, the victim had no known relation to the banana
                   industry and simply disappeared one day without a trace”

           •       That he also represented clients who were either “killed by the FARC,
                   before 1997, or after 2004”

    DE 135. Mr. Wolf and Mr. Collingsworth subsequently filed a stipulation designating Mr.

    Collingsworth as lead counsel. DE 144.

          That détente did not last, however. In August 2012, liaison counsel Jack Scarola “announced

    his intent to exclude Mr. Wolf from participation in any future communications between plaintiffs’

    MDL counsel,” and in October Mr. Wolf was subsequently removed from the Plaintiffs’ counsel’s

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    email list. DE 1188 at 5. The exclusion decision was made because Mr. Wolf refused to participate

    in group decision making on litigation strategy. See DE 968-1 ¶¶ 19-23. In November of the same

    year, Mr. Wolf filed suit against Boies Schiller & Flexner, which is still counsel of record for the

    Montes Plaintiffs, in the District of Columbia. See Wolf v. Boies, Schiller & Flexner LLP, No. 12-

    cv-01855-RJL (D.D.C. filed Nov. 15, 2012). In that litigation, Mr. Wolf alleged that Boies

    Schiller’s retainers were “obtained by fraud,” DE 600 at 1, and also alleged that all Plaintiffs’

    counsel were engaged in creating “an illegal monopoly for legal services under the Sherman Act,”

    DE 1 in No. 13-80146 ¶ 37. Despite this split, however, Plaintiffs’ counsel tried to continue

    litigating with Mr. Wolf, approaching him about a joint strategy for the interlocutory appeal that

    was proceeding in 2013. Mr. Wolf’s reaction to this overture was to copy Chiquita’s counsel,

    thereby revealing Plaintiffs’ confidential attorney communications, which ended any hope of

    continuing to coordinate on litigation strategy. See DE 968-1 ¶¶ 24-27.

          In 2015, when the parties were discussing potential Hague Convention depositions of

    paramilitary witnesses, Mr. Wolf emailed Plaintiffs’ counsel and Chiquita’s counsel stating that

    he wished to “participate in Fredy Rendon’s deposition,” but that he would “oppose” the deposition

    “if we do not participate. We have the right to cross examine the witnesses and are adverse to

    Mr. Simons’ group.” Id. ¶ 33 (emphasis added). Although Mr. Rendon did not appear at his

    deposition, Jesus Ignacio Roldán did, and Mr. Wolf refused to pay his share of the expenses for

    that deposition – requiring a motion and a court order to compel him to do so. DE 968; DE 1188.

          Mr. Wolf also voluntarily produced a number of confidential work product communications,

    dating from the time when he was privy to Plaintiffs’ counsel’s joint discussions, in response to

    Chiquita’s discovery over alleged witness payments. After Plaintiffs’ counsel raised objections to

    this production, Chiquita agreed to segregate it and, with respect to documents for which other



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    counsel claimed privilege, filed these materials in camera for the Court’s review. See DE 803.

    Plaintiffs’ counsel produced a privilege log for the Court, DE 809; the Court subsequently

    sustained Plaintiffs’ assertions of privilege over all but portions of one document, Mr. Wolf’s own

    declaration. See DE 872 at 6. This effectively amounted to a ruling that Mr. Wolf had

    inappropriately chosen to disclose confidential Plaintiffs’ counsel work product with Chiquita.

           The Court subsequently issued an order in which it emphasized that Mr. Wolf was not at

    liberty to disclose these confidential communications:

                    To the extent Mr. Wolf was made privy to protected communications before
            his withdrawal from the circle of plaintiffs’ counsel . . .those communications
            remain privileged and he is not at liberty to disclose the contents of such matters
            without prior ruling upon any contested issue by the Court. In this vein, the Court
            emphatically now cautions Mr. Wolf against future unauthorized disclosure of any
            materials arguably protected by work-product or attorney-client privilege in this
            proceeding. To be clear, Mr. Wolf is without authority to make unilateral
            determinations regarding the discoverability of potentially privileged
            communications or documents simply by virtue of his possession or control of that
            information. . . .
                    The Court will not countenance any future unilateral determinations by Mr.
            Wolf on the discoverability of information or documents in his possession or
            control, and Mr. Wolf is advised to conduct himself accordingly.

    DE 1188 at 9. The Court also, however, noted its belief that “it does not have the authority to

    compel Mr. Wolf to participate jointly in strategic, confidential decision-making processes with

    other plaintiffs’ counsel in this MDL proceeding, under shield of the common interest doctrine.”

    Id. at 8.

           Since then, Plaintiffs’ counsel have kept Mr. Wolf at arms’ length, not involving him in any

    confidential discussions, but regularly being subject to unfounded, libelous attacks by Mr. Wolf,

    in this Court and others. A few examples:

            •      In 2017, Mr. Wolf accused Mr. Simons of lying to the Court by claiming
                   that Mr. Wolf had signed the Plaintiffs’ confidentiality agreement. DE 1458
                   at 4. Mr. Simons subsequently filed the agreement with the Court. DE 1463-
                   4.

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          •    In 2020, Mr. Wolf told the Secretary of the Justice and Peace Tribunal that
               EarthRights attorneys had “tried to bribe” Raúl Hasbún “with $200,000
               dollars.” DE 2717 at 1. When Mr. Simons specifically told him that none of
               the Plaintiffs’ counsel copied “has had any involvement in attempting to
               pay Mr. Hasbun anything” – copying Mr. Scarola, Mr. Green, and Mr.
               Wichmann – Mr. Wolf responded, “Of course you were. One of the last
               things I did before you excluded me from your communications was make
               a record of the attempts to bribe this witness. . . . I’m confident that Terry
               will testify against all of you eventually.” DE 2717-2.

          •    Also in 2020, Mr. Wolf filed an opposition to an amicus brief at the
               Eleventh Circuit, which had been submitted by the Center for Justice and
               Accountability and the Harvard Law School International Human Rights
               Clinic in support of the non-Wolf cases – to which Mr. Wolf was not a
               party – arguing that the “intervenors’ [sic] arguments are worse than
               cumulative, though, because they're based on tainted evidence obtained
               through bribes, or the promise of bribes”; accusing Plaintiffs’ counsel of
               perpetrating “a fraud on the Court”; arguing without limitation that “[t]he
               ‘non-Wolf’ Appellants' legal strategy has been to pay imprisoned
               paramilitary commanders hundreds of thousands of dollars to testify that
               they gave the orders to kill particular (bellwether) plaintiffs”; accusing the
               Harvard law students of “participation in a conspiracy to defraud this
               Court.” DE 115 in Appeal No. 19-13926 (11th Cir.).

          •    Also before the Eleventh Circuit – again, not merely declining to coordinate
               with other counsel, but actively working against them – Mr. Wolf opposed
               a motion to seal documents in the non-Wolf cases before the Eleventh
               Circuit. DE 132 in Appeal No. 19-13926 (11th Cir.).In that filing he accused
               “Attorney Scarola” of “refusing to produce witness bribery documents to
               Drummond.” After Plaintiffs’ counsel replied to Mr. Wolf’s opposition, he
               filed his own “reply.” DE 134 in Appeal No. 19-13926 (11th Cir.). In that
               document, Mr. Wolf claimed that “Earthrights used Colombian
               intermediaries to sign duplicate agreements with many of undersigned
               counsel’s clients,” that EarthRights had previously withheld filing claims
               “in furtherance of the RICO conspiracy,” and that EarthRights “isn’t even
               a law firm” but was acting “as Cohen & Milstein’s alter ego.” In a
               subsequent filing in this Court, Mr. Wolf claimed that “the representation
               of individuals in court by [EarthRights] constitutes the unauthorized
               practice of law.” DE 2713 at 8.

          •    At the Daubert motion hearing in this case, Mr. Wolf stated that he wanted
               to exclude unspecified paramilitary witnesses that he believed had been
               paid, and went on to accuse Plaintiffs’ counsel of criminal witness bribery:

               I have to say that they have paid or are paying the AUC. I cannot be

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                   in court and be part of a conspiracy like that. I'm sorry. And I realize
                   that I have caused a lot of problems in this case, and I believe that
                   Raul Hasbun will be paid $5 million. You don't steal $5 million from
                   the top commander of the AUC.
                            And that's not all the money that they owe him. They owe
                   the AUC another million and a half dollars, and that’s because Mr.
                   Collingsworth borrowed a million and a half dollars from people
                   who have already been convicted of laundering money for the AUC.
                            I am talking about the Bilderbeeks. And Mr. Scherer is here.
                   His firm did this, Terry Collingsworth. He was supposed to appear
                   for a deposition. He said he has to be in court here, he has to be in
                   court in Florida for the Chiquita case, so he can’t appear in the
                   deposition in the Drummond case.
                            And that's a lot of money. So we have 6 1/2 million dollars
                   that will be paid to the AUC. I am sure of that. If there’s a settlement
                   in this case, part of it is going to the AUC. And I don't know what I
                   can do about that.

    March 15, 2024, Transcript at 117:24-118:19.

          As demonstrated by this last dispute in particular, Mr. Wolf does not agree with the trial

    strategy of other Plaintiffs’ counsel. For example, Mr. Wolf retained separate experts (who were

    struck by the Court) and his clients are not included in Professor Kaplan’s analysis. Also, Mr. Wolf

    has not contributed to any of the trial preparations costs that the other, cooperating counsel have

    shared.

          III.     RULES 1, 21, and 42(b)

          Rule 1 mandates that “the court and the parties” should endeavor to “secure the just, speedy,

    and inexpensive determination of every action and proceeding.” Fed. R. Civ. P. 1. See also

    advisory committee's note to 2015 amendment (“Rule 1 is amended to emphasize that just as the

    court should construe and administer these rules to secure the just, speedy, and inexpensive

    determination of every action, so the parties share the responsibility to employ the rules in the

    same way.”) (emphasis added).

          Rule 21 provides that “[o]n motion or on its own, the court may at any time, on just terms,



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    add or drop a party. The court may also sever any claim against a party.” Fed. R. Civ. P. 21. Aetna

    Life Ins. Co. v. Foundation Surgery Affiliates, LLC, 358 F. Supp. 3d 426, 436 (E.D. Pa. 2018) (“A

    district court has broad discretion in deciding whether to sever a party pursuant to Federal Rule of

    Civil Procedure 21.”); Turner Const. Co., Inc. v. Brian Trematore Plumbing & Heating, Inc., No.

    07-666, 2009 WL 3233533, at *3 (D.N.J. Oct. 5, 2009) (“District courts have ‘broad discretion’ in

    deciding whether to sever a party pursuant to Rule 21.”).

          District courts have invoked Rule 21 to sever the claims of individual plaintiffs to promote

    judicial economy. See, e.g., Nelson-Devlin v. Eli Lily & Co., No. 14-2811, 2015 WL 5436700, at

    *4 (E.D. Cal. Sept. 15, 2015) (products liability action); Arroyo v. PHH Mortg. Corp., No. 13-

    2335, 2014 WL 2048384, at *3–4 (E.D.N.Y. May 19, 2014) (finding severance of plaintiffs’ claim

    appropriate under Rule 21 to promote judicial economy). Rule 42(b)?

          Rule 42(b) provides that “[f]or convenience, to avoid prejudice, or to expedite and

    economize, the court may order a separate trial of one or more separate issues [or] claims.” Fed.

    R. Civ. P. 42(b).

           In addition, because it is managing a multi-district litigation, the “court retains

    wide discretion to ensure that the litigation progresses efficiently and without undue delay.”

    In re Zantac (Ranitidine) Prods. Liab. Litig., 546 F. Supp. 3d 1152, 1184 (S.D. Fla. 2021). See

    also In re 3M Combat Arms Earplug Prods. Liab. Litig., 2020 U.S. Dist. LEXIS 172694, *4 (N.D.

    Fla. Aug. 20, 2020) (“In multi-district litigation (MDL) such as this, the Court has ‘broad discretion

    to structure a procedural framework for moving the cases as a whole’ and the authority to

    ‘uncomplicate matters’ to promote fair and efficient resolution of the litigation.”).

           IV.     ARGUMENT

          Early on in this case, the non-Wolf Plaintiffs attempted for over four years to work with Mr.



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    Wolf, and met with him in West Palm Beach, Washington, D.C., and New York to map out strategy

    and discovery, all without success. Notably, Mr. Wolf has repeatedly refused to have confidential

    communications with other plaintiffs' counsel, and the Court has declined to compel him to do so.

    Mr. Wolf refused to maintain confidentiality of joint counsel discussion. He shared confidential

    information obtained from non-Wolf Plaintiffs’ counsel with Chiquita, which the Court

    subsequently found were privileged and should not have been produced.

          While this Court may have discretion in determining whether to consolidate cases for trial,

    forcing other Plaintiffs’ counsel to try a case together with Mr. Wolf would be an abuse of that

    discretion, for several reasons.

          First, Mr. Wolf has repeatedly attacked other Plaintiffs’ counsel—as recently as today.

    Unless he is specifically enjoined from doing so, he will undoubtedly do so before the jury, which

    could force the non-Wolf Plaintiffs to move for a mistrial. Moreover, Mr. Wolf’s attacks are

    baseless, as he has repeatedly admitted that he has no personal knowledge of any of the alleged

    “witness payment” schemes he accuses Plaintiffs’ counsel of – and other claims of Mr. Wolf’s

    have been proven false.

          Second, Mr. Wolf disagrees with Plaintiffs’ counsel’s trial strategy – and he is not included

    within it. Mr. Wolf apparently does not want to call any paramilitary witnesses or rely at all on the

    Hasbún indictment or the Mangones sentencia, and will likely call into question the reliability of

    these documents. Plaintiffs’ counsel have relied on the testimony of Prof. Oliver Kaplan; Dr.

    Kaplan does not work for Mr. Wolf, and has not analyzed his clients’ cases, and it would be

    confusing to the jury to omit them. Indeed, Mr. Wolf does not seem to think he needs much of the

    evidence that Plaintiffs put on in the 1A trial; on Facebook, Mr. Wolf previously posted, “We

    should have a very simple case, based on a guilty plea made by Chiquita in 2007, and not need



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    much more.” 3

          Third, even if Plaintiffs’ counsel could develop a common trial strategy with Mr. Wolf, they

    cannot do so in the absence of confidentiality – which Mr. Wolf has repeatedly refused and the

    Court has stated it lacks the power to order.

          Fourth, Mr. Wolf would be unfairly free-riding on the efforts of other Plaintiffs’ counsel.

    While other counsel have a common benefit agreement, Mr. Wolf is not part of this arrangement.

    Plaintiffs’ counsel have already done Mr. Wolf a great favor by presenting the 1A case, and

    prevailing. Actually trying a case for him, when he has been attacking all other counsel for the past

    decade, would be manifestly unfair.

          By contrast, allowing Mr. Wolf to try his cases on his own sometime soon after the

    Bellwether 1B trial would not prejudice him; indeed, he would not be constrained by other

    Plaintiffs’ counsel. Further, the fact that he has yet to coordinate with other Plaintiffs’ counsel at

    all indicates that he is fully prepared to litigate his trials on his own.

          If the Court were to compel other counsel to try a case together with Mr. Wolf, which

    Plaintiffs’ counsel are certain will result in a mistrial, it could only happen under the following

    conditions:

            •       The Court accepts the request of all non-Wolf Plaintiffs’ counsel to appoint
                    Mr. Scarola as lead trial counsel and orders Mr. Wolf to follow lead
                    counsel’s direction.

            •       The Court orders Mr. Wolf to hold all trial strategy communications – which
                    must include all communications with other Plaintiffs’ counsel from this
                    point forward until the resolution of the trial – absolutely confidential and
                    forbids Mr. Wolf from disclosing those communications to Chiquita or from
                    making those communications public..


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      Machine translation from Mr. Wolf’s original Spanish post (“Deberíamos tener un caso muy
    simple, basado en una declaración de culpabilidad hecha por Chiquita en 2007, y no necesitar
    mucho más.”). See https://www.facebook.com/asesoriaspaul/posts/pfbid02m75AnVNRh
    ZXPLNDAi7tpxBGNkEPFVHfKCmLZ9DqdeiRHax6UWFw9WWaUYXYrzjePl.
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           •       Mr. Wolf must agree not to make any in-court or out-of-court statements
                   critical of or adverse to other Plaintiffs’ counsel.

           •       Mr. Wolf would be permitted to give a plaintiff-specific opening and
                   closing.

           •       Mr. Wolf is required, at least 15 days in advance of trial, to contribute to
                   pre-trial and trial costs and to agree to a common benefit arrangement for
                   the time and costs expended by other Plaintiffs’ counsel.

                                            CONCLUSION
           As Mr. Wolf has written in this case and as previously noted in this Motion:

           [I]t will not be possible to develop a working relationship with Conrad & Scherer
           after the negative history we have had so far. It will not be in the plaintiffs'
           interest to force us to work together.

    Response of Paul Wolf to Court's Order of August 28, 2008. DE 135 at 7. (emphasis added). For

    all of the reasons above, and to avoid a mistrial likely to be precipitated by Mr. Wolf’s disturbed

    and obsessive behavior, the motion should be granted.

                                   Local Rule 7.1(a)(3) Certification

           Pursuant to Local Rule 7.1(a)(3), counsel for the non-Wolf Plaintiffs conferred via email

    with all parties who may be affected by the relief sought in the motion in a good faith effort to

    resolve the issues raised in the motion. Mr. Wolf opposes the relief sought in this motion and

    Chiquita would not provide its position without first seeing what Plaintiffs would be arguing.

    DATED: June 14, 2024.                                Respectfully submitted,

                                                         /s/ James K. Green
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                                                         Tel: 561-686-6300
                                                         Counsel for Plaintiffs

                                        CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing document was filed with the Clerk of the Court

    using CM/ECF on June 14, 2024. I also certify that the foregoing document is being served this

    day on all counsel of record registered to receive electronic Notices of Electronic Filing generated

    by CM/ECF.

                                                         /s/ James K. Green




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